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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     §
                                             §
       v.                                    §       CRIMINAL NO. 1:21-CR-00314
                                             §
SHAWN BRADLEY WITZEMANN                      §


             NOTICE OF FILING LETTERS IN SUPPORT FOR SENTENCING

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       COMES NOW Defendant, through Counsel and files the attached letters for consideration

during sentencing.


                                                 Very respectfully,

                                                  /S/ Guy L. Womack

                                                 Guy L. Womack
                                                 Counsel for Defendant
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                               CERTIFICATE OF SERVICE

      A copy of this notice with attached letters was delivered via email, to the Government
Counsel on this 3rd day of November, 2022.


                                                 /S/ Guy L. Womack
                                                 Guy L. Womack
